Case 2:19-cv-10586-GAD-SDD ECF No. 18-1 filed 08/23/19   PageID.178   Page 1 of 1



                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

  MICHAEL J. HOUSE,
                                          CASE NO. 2:19-CV-10586
        Plaintiff,

  v.
                                          JUDGE GERSHWIN A. DRAIN
  GENERAL ELECTRIC CO., ET AL.,
                                          MAGISTRATE JUDGE
                                          STEPHANIE DAWKINS DAVIS
        Defendants.




                                INDEX OF EXHIBITS



   EXHIBIT #                            DESCRIPTION
       A         PAIR Records
